                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


 HUANG ZHIYANG,

       Plaintiff,

 v.                                                    Civil Action 1:20-cv-836-LO-IDD

 45.COM, an Internet domain name, and
 JOHN DOE,

       Defendants.



      PLAINTIFF’S RESPONSE TO MOTION TO REOPEN, INTERVENE,
                     AND SET ASIDE JUDGMENT

       Plaintiff HUANG ZHIYANG (“Plaintiff”), through counsel and pursuant to Local

Civil Rule 7(F)(1), files this Response to Movant “Huang Zhiyang” (“Movant”)’s Motion

to Reopen, Intervene, and Set Aside the Final Judgment (“Movant’s Motion”), and states

as follows:

       Fed. R. Civ. P. 55(c) provides that a default judgment may only be set aside “for

good cause.” Interpreting this requirement, the Fourth Circuit has identified the

following factors for consideration: “whether the moving party has a meritorious defense,

whether it acts with reasonable promptness, the personal responsibility of the defaulting

party, the prejudice to the party, whether there is a history of dilatory action, and the

availability of sanctions less drastic.” Colleton Preparatory Acad., Inc. v. Hoover

Universal, Inc., 616 F.3d 413, 417 (4th Cir. 2010) (quoting Payne ex rel. Estate of

Calzada v. Brake, 439 F.3d 198, 204-05 (4th Cir. 2006)).
       Plaintiff believes that Movant may be Defendant John Doe who stole Plaintiff’s

identity, gained unauthorized access to Plaintiff’s various accounts, and continues to

maintain such unlawful access in furtherance of the continued impersonation of Plaintiff.

See Second Declaration of Huang Zhiyang ¶ 4, May 11, 2021, attached hereto as Exhibit

A (“Second Zhiyang Decl.”). Plaintiff believes that Movant’s highly redacted

documentation filed in support of Movant’s Motion is of questionable validity, and that

Movant’s claimed lack of knowledge of the instant litigation is highly suspect.

       For example, the documentation purporting to establish Movant’s identity has

been so highly redacted that its veracity cannot be assessed, Movant’s Decl. ¶¶ 10-19

(ECF No. 16-1), Exs. HZY01-HZY10 (ECF Nos. 16-2 – 16-11), the purported domain

name registrar records lack typical indicia of legitimacy such complete URL addresses,

screen capture dates, and attestation by the registrar, Lo Decl. ¶¶ 5-6 (ECF No. 16-15),

Exs. 6-7 (ECF Nos. 16-21, 16-22), and the declarations concerning Movant’s purported

email account show nothing more than that Movant potentially has access to an email

account that Plaintiff formerly controlled before his accounts were hacked and his

identity was stolen. Second Zhiyang Decl. ¶ 5; Verified Compl. ¶¶ 19, 26-27 (ECF No.

1).

       With regard to Movant’s claimed lack of knowledge of the instant action, the

domain registrar that held the 45.com domain name prior to entry of the Court’s Final

Judgment (Xiamen 35.Com Technology Co., Ltd.) is required by its registrar

accreditation from the Internet Corporation for Assigned Names and Numbers (ICANN)

to provide a mechanism for contacting domain name registrants, and the registrar could

lose its accreditation for failure to provide a working contact mechanism. See ICANN,



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Temporary Specification for gTLD Registration Data §§ 2.5.1.1 (“The email address and

the URL to the web form MUST provide functionality to forward communications

received to the email address of the applicable contact.”), 1.3 (extending temporary

specification to Registrar Accreditation Agreement). Plaintiff had no choice but to use

this contact mechanism, as the prior registrant concealed its identity and contact

information from the public Whois records. See Pl.’s Mem. in Supp. of Mot. for in Rem

Serv. at 5 (ECF No. 3). On at least three separate occasions, Plaintiff used this contact

mechanism to provide Movant with notice of the pendency of the instant action. Pl.’s

Mem. in Supp of Mot. for Default J. at 5-6 (ECF No. 9); Decl. of Ari Meltzer ¶ 4, Ex. A

(ECF No. 6-1).

         Xiamen 35.Com Technology Co., Ltd. is a publicly traded Chinese company1

that, accordingly to Movant’s questionable claims of lack of knowledge of this action, is

at risk of de-accreditation by ICANN for its purported failure to forward to Movant all

communications concerning this action other than the Court’s Final Judgment. And,

counsel for the Movant’s declaration curiously omits any discussion of examination of

Movant’s email inbox during the entire pendency of this action when communications

were required to have been provided to Movant by Xiamen 35.Com Technology Co., Ltd.

and omits any statement that no messages have been deleted from the inbox. See Lo

Decl. ¶¶ 17-18, 29-31, Exs. 11-25 (ECF No. 16-15). It is simply not credible that Movant

claims to have only received notice of the action upon entry of the Final Judgment, and

Movant is therefore too late to assert appear in this case. See, e.g., Cent. Operating Co. v.

Util. Workers of Am., AFL–CIO, 491 F.2d 245, 252–53 (4th Cir. 1974) (affirming denial



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    https://www.marketwatch.com/investing/stock/300051?countrycode=cn
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of relief under Rule 60(b)(1) after defendants failed to provide a “satisfactory

explanation” for four month delay after receiving notice of default judgments); Consol.

Masonry & Fireproofing, Inc. v. Wagman Constr. Corp., 383 F.2d 249 (4th Cir. 1967)

(affirming denial of Rule 60(b) relief where motion was filed two and one-half months

after entry of default judgment).

       The sequence of events leading to Movant’s appearance in this action also lends

credence to Plaintiff’s belief that Movant is Defendant John Doe. Approximately one

month after implementation of the Court’s Final Judgment by the .com domain registry

and relevant domain registrar, on April 9, 2021 Plaintiff’s counsel received

correspondence from Movant’s counsel claiming to represent the true owner of the

45.com domain name. Second Zhiyang Decl. ¶ 9, Ex. 1. Plaintiff’s counsel spoke with

Movant’s counsel on April 15, 2021 wherein Movant’s counsel sought inter alia

cooperation in pursuing a transfer of the 45.com domain name to Movant and indicated

that, in the absence of such cooperation, Movant would file a motion to set aside the

default judgment early the following week. Second Zhiyang Decl. ¶ 10.

       Plaintiff’s counsel declined Movant’s counsel’s demands and, at some point

within the next few days, Plaintiff’s account with the domain name registrar

GoDaddy.com (where the domain name was transferred by this Court’s Final Judgment)

was accessed without authorization by a computer with an IP address associated with

Dubai, UAE, and the 45.com domain name was stolen from Plaintiff yet again. Id. ¶ 11.

Following this most recent theft of the 45.com domain name, Movant did not file its

Movant’s Motion early the week of April 19, 2021, as threatened, and instead waited

until the day after receiving correspondence from Plaintiff’s counsel noting that the



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domain had been stolen again and that Plaintiff believes that Movant is responsible for

the original and most recent theft. Id. ¶¶ 12-13, Ex. 2.

       Plaintiff is aware that the Fourth Circuit has “repeatedly expressed a strong

preference that, as a general matter, defaults are to be avoided and that claims and

defenses be disposed of on their merits,” Saurikit, LLC v. cydia.com, No. 1:11cv0888

JCC/JFA, 2011 WL 5843638, at *2 (E.D. Va. Nov. 21, 2011) (quoting Colleton, 616 F.3d

at 417), but Movant has not acted with promptness, and the suspicious documentation

submitted by the Movant does not demonstrate a meritorious defense. To the extent that

this Court does proceed on the merits, however, Plaintiff reserves all rights to pursue all

in rem and in personam claims, including but not limited to all claims against Movant

individually for identity theft and theft of the 45.com domain name.2



Dated: May 11, 2021                    By:        /s/ Attison L. Barnes, III /s/
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  Plaintiff notes, however, that if this case proceeds, Plaintiff is concerned about potential
disclosure of his identity documents, bank account, domain acquisition, and similar
documents to Movant in light of the risks that they may be misused by Movant.
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                                CERTIFICATE OF SERVICE

       I, Attison L. Barnes, III, hereby certify that on May 11, 2021, I electronically filed the

foregoing by using the CM/ECF system, which will send a notification of such filing to all

counsel of record.


                                               /s/ Attison L. Barnes, III /s/
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